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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
                                                )
vs.                                             )           Case No. 23-CR-264-GKF
                                                )
DANIEL LAWRENCE CHARBA,                         )
                                                )
               Defendant.                       )


                        MOTION TO WITHDRAW UNOPPOSED MOTION
                        FOR CONTINUANCE OF SCHEDULING ORDER

               Allen M. Smallwood, counsel for the above-named defendant, Daniel Lawrence

Charba, moves to withdraw the unopposed motion for continuance (Dkt. 12) of this Court’s

scheduling order (Dkt. 9) filed of record on September 5, 2023. In support of this Motion

counsel states:

               1.    This defendant is charged in a two-count indictment with Unlawfully Making

a Destructive Device (COUNT ONE) in violation of 26 U.S.C. §§ 5861(f), 5871, and 5822; and,

Possession of an Unregistered Destructive Device in violation of 26 U.S.C. §§ 5861(d), and

5871, with a forfeiture allegation per 26 U.S.C. § 5872, and 28 U.S.C. § 2461 (Unlicensed

Firearms Forfeiture) (COUNT TWO). The defendant is free on pretrial release, with a pretrial

conference/motion hearing scheduled for October 3, 2023, at 9:30 a.m. Jury trial is currently

scheduled for October 23, 2023, at 9:30 a.m.

               2.    This defendant is also charged in State of Oklahoma v. Daniel Charba,

Tulsa County Case No. CF-2023-1353, with thirteen counts of Unlawfully Manufacture

Explosives (Counts 1 – 13 – Felonies), in violation of 21 O.S. § 1767.1, based upon the identical

facts and circumstances as alleged in this current federal indictment.

               3.    The evidence in both the cases reference in Paragraph Nos. 1 and 2 above

are identical and the witnesses will be identical.
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               4.   A preliminary hearing was scheduled in the State felony matter for Friday,

September 8, 2023. A motion for continuance of the scheduling order in this federal case (Dkts.

12 and 9, respectively) was filed as a result of both cases being pursued causing a significant

conflict of defense tactics with the State case and the federal case continuing at the same time.

               5.   Counsel learned on September 7, 2023, that the State prosecutor “intended

to dismiss the State case” at the calling of the preliminary hearing on September 8, 2023. The

dismissal of the State case did occur on September 8, 2023, rendering the basis for the motion

for continuance of this federal case’s scheduling order (Dkts. 12 and 9, respectively) no longer

viable.

               6.   Counsel for the defendant, Daniel Lawrence Charba, therefore withdraws

the unopposed motion for continuance (Dkt. 12) and will be prepared to comply with the current

scheduling order (Dkt. 9) which has a change of plea/pretrial set before this Court on Tuesday,

October 3, 2023.

               7.   Counsel has received a plea agreement which is acceptable to the

defendant and will be presented along with a petition to enter plea of guilty to this Court within

48 hours of October 3, 2023.


               WHEREFORE, counsel seeks an order of this Court withdrawing counsel’s

unopposed motion for continuance (Dkt. 12) as stated above.




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                                                       s/ Allen M. Smallwood
                                                       ALLEN M. SMALLWOOD              OBA #8308
                                                       Counsel for Defendant
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                                                       Tulsa, Oklahoma 74119-3041
                                                       (918) 582-1993        (918) 582-1991 Fax




                                  CERTIFICATE OF SERVICE

                I hereby certify that on this 11th day of September, 2023, a true and correct copy
of the above and foregoing was electronically transmitted to the Clerk of Court using the ECF
System for filing and transmittal of a notice of electronic filing to the following ECF registrants:

Nathan E. Michel                                Reagan Vincent Reininger
nathan.michel@usdoj.gov                         reagan.reininger@usdoj.gov




                                                       s/ Allen M. Smallwood
                                                       ALLEN M. SMALLWOOD




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